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                       UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                  Eastern Division

Nike, Inc.
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:21−cv−04365
                                                                     Honorable Andrea R.
                                                                     Wood
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 16, 2021:


        MINUTE entry before the Honorable Andrea R. Wood: Without objection from
Plaintiff, Defendant FUNEY's motion for extension of time to answer or otherwise plead
[43] is granted. Defendant FUNEY shall answer or otherwise respond to the complaint by
11/26/2021. Mailed notice (dal, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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